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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                                   Atlanta Division


EMMA KOE, et al.,

                    Plaintiffs,
              v.                                Case No. ___________________

CAYLEE NOGGLE, et al.,

                    Defendants.



           DECLARATION OF RENELLE (“REN”) MASSEY, PH.D.


      1.     My name is Renelle (“Ren”) Massey, Ph.D. I am a licensed clinical

psychologist in Georgia for child, adolescent, and adult patients. I have provided

psychotherapy, psychological evaluations, and consultation services in the Atlanta

area for over three decades. I have been retained by counsel for Plaintiffs in the

above-captioned lawsuit to provide an expert opinion on the standards of care for

treating individuals diagnosed with gender dysphoria.

                          Background and Qualifications

      2.     Information regarding my professional background, experiences,

publications, and presentations is detailed in my curriculum vitae. A true and correct

copy of my CV is attached as Exhibit A.


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      3.     I received my Doctor of Philosophy in Clinical Psychology from the

University of South Florida in Tampa, Florida, a Masters of Arts from the Florida

Atlantic University, and a Bachelors of Arts from Stetson University.

      4.     Since 1989, I have maintained a clinical practice in Georgia, where I

treat patients from Georgia and the surrounding states. I am also an adjunct assistant

professor at the Emory University School of Medicine’s Department of Psychiatry

and Behavioral Sciences.

      5.     I provide psychotherapy to individuals, couples, and families,

specializing in issues such as gender identity, sexual orientation, diversity, physical

and sexual abuse, substance use, depression, anxiety, health, and anger and stress

management. I also provide forensic evaluations. In the last 10 years, I have served

over 1,000 individuals and/or families, accepting around 2 new referrals each week.

      6.     I have treated children and adolescents with gender dysphoria for over

10 years. I have treated over 600 children and adolescents with gender dysphoria

during my professional medical career. Currently, approximately 70 percent of the

patients in my clinical practice are transgender children and adolescents.

      7.     I became a certified provider and mentor in 2018 with the World

Professional Association for Transgender (“WPATH”) Health Global Education

Institute. I am a contributing author to the Adolescents chapter of the Eighth Version

of the World Professional Association for Transgender Health’s (“WPATH”)


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Standards of Care for the Health of Transgender and Gender Diverse People,

Version 8 (hereafter, “WPATH SOC”).

      8.    The WPATH SOC provides clinical guidance for health professionals

based on the best available science and expert professional consensus. The purpose

of the WPATH SOC is to assist healthcare providers in delivering necessary and

appropriate medical and mental healthcare to transgender and gender diverse people,

in order to maximize their patients’ overall health, psychological well-being, and

self-fulfillment. The WPATH SOC has been recognized and adopted as the

prevailing standard of care by the major professional associations for medical and

mental health providers in the United States, including the American Medical

Association, the American Academy of Pediatrics, the American Psychiatric

Association, the American Psychological Association, and the Pediatric Endocrine

Society, among others.

      9.    In addition, I have written a number of articles and peer-reviewed

journal articles. Some of these articles are about treatment of gender dysphoria in

children and adolescents. I am also contributing as a researcher or consultant on

some ongoing research projects that have not yet been published. A full and

complete list of my publications is included in my CV.

      10.   I have served as an Independent Reviewer for the peer-reviewed

medical journal, Journal of Sexual Medicine since 2016.


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      11.   I am actively involved in training other medical and mental health

providers in the treatment of children and adolescents with gender dysphoria. I have

conducted trainings for a number of medical and mental health providers and have

given dozens of public addresses, seminars, and lectures on the treatment of gender

dysphoria in children and adolescents. I am also a Master Mentor and a member of

the Faculty for WPATH’s Global Education Institute, which provides training

courses toward a member certification program in transgender health for

practitioners around the world.

      12. I am also a Co-Chair/Mental Health Chair of WPATH’s Global Education

Institute. I am actively involved in developing training programs for medical and

mental health professionals in Georgia, the United States, and internationally,

primarily, but not only, for the WPATH Global Education Institute. These programs

have been delivered online and in-person, reaching over 7,000 registrants.

      13.   I am a member of the following professional organizations: American

Psychological Association; Georgia Psychological Association; and WPATH. I

served in numerous roles for the Georgia Psychological Association, including on

the Ethics Committee and as former President (2017–18).

      14.   I am being compensated at an hourly rate of $400/hour plus expenses

for my time spent in connection with this declaration. My compensation does not

depend on the outcome of this litigation, the opinions I express, or the testimony I


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may provide.

       15.    In the previous four years, I have not been retained as an expert witness

in any litigation.

                                  Basis for Opinions

       16.    My opinions contained in this declaration are based on: (1) my clinical

experience as a psychologist treating transgender patients, including children,

adolescents and young adults; (2) my knowledge of the peer-reviewed research

regarding the treatment of gender dysphoria, which reflects the clinical

advancements in the field of transgender health; (3) my work as a contributing author

of the WPATH SOC; and (4) my review of the law challenged in this case.

                                       Discussion

Gender Identity Development and Gender Dysphoria in Children and Adolescents

       17.    At birth, infants are assigned a sex, either male or female, based on the

appearance of their external genitalia and/or chromosomal profile. For most people,

their birth or natal sex corresponds to their gender identity. For transgender people,

their birth sex does not align with their gender identity.

       18.    Gender identity is a person’s innate sense of their gender. It is a core

and universal component of human identity.

       19.    It is essential to a person’s mental health and well-being to be able to live

consistent with their gender identity. This is true for transgender and non-


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transgender people.

      20.   Gender identity has a significant biological basis and cannot be altered

through medical or psychological interventions. Stephen M. Rosenthal, Challenges

in the Care of Transgender and Gender-Diverse Youth: An Endocrinologist’s

View. Nat Rev Endocrinol 17, 581–91 (2021), https://doi.org/10.1038/s41574-021-

00535-9.

      21.   The evidence demonstrating that gender identity cannot be altered,

either for transgender or for non-transgender individuals, underscores the innate

nature of gender identity. Past attempts to “cure” transgender individuals by using

talk therapy, and even aversive therapy, to change their gender identity to match

their birth-assigned sex were ineffective and caused harm. The major associations

of medical and mental health providers, including the American Medical

Association, the American Psychiatric Association, the American Academy of Child

and Adolescent Psychiatry, the American Psychological Association, and WPATH,

consider such efforts harmful and unethical.

      22.   Gender dysphoria is the medical diagnosis for the severe and

unremitting psychological distress resulting from the incongruity between a

transgender person’s birth-assigned sex and their gender identity. That distress can

be alleviated when a transgender person is able to live consistent with their gender

identity.


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      23.     Gender dysphoria is a serious medical condition and is listed in the

Diagnostic and Statistical Manual, Version 5 (“DSM-5”), the diagnostic and coding

compendium for mental health professionals.

            Standard of Care for Treatment of Gender Dysphoria in Youth

      24.     Like all children, transgender children can thrive, grow into healthy

adults, and have the same capacity for happiness, achievement, and contribution to

society as others. For this group of young people, that means supporting their need

to live in a manner consistent with their gender identity in all aspects of their lives.

      25.     Accordingly, the goal of treatment for gender dysphoria is to reduce

distress and improve functioning, which typically occurs through the process of

enabling the individual to live consistent with their gender identity. The process of

undergoing those treatments is often referred to as gender transition. The stages that

make up a transgender person’s gender transition will depend on that individual’s

medical and mental health needs. The purpose of transition is to allow a transgender

person to live congruently with their gender identity, including in many cases

undergoing medical treatments to align the person’s body with who they are.

      26.     Typically, transgender people start their transition with a series of steps

that are commonly referred to as a “social transition.” Those steps include, but are

not limited to, changing their name, using different pronouns, and wearing clothing

and adopting grooming habits typically associated with their gender identity.


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Making those changes enables a transgender person to begin living their life

consistent with their gender identity and helps ensure that they are treated as such by

family, peers, and others in the community. It is important to note that there are no

medical interventions for pre-pubertal transgender and gender-diverse children. For

some children, social transition is an appropriate intervention, while for others,

treatment for gender dysphoria may involve but not be limited to building family and

social support or building resilience.

      27.      After the beginning of the onset of puberty, transgender young people

may also start taking puberty-delaying medication to prevent the development of

unwanted, psychologically distressing, and in some instances irreversible

secondary-sex characteristics that conflict with the person’s identity.

      28.      Hormone therapy is medically necessary for some transgender young

people regardless of whether they have taken puberty-delaying medication because

hormone therapy is necessary to induce their bodies to develop the secondary-sex

characteristics more aligned with their gender identity, such as facial and body hair

for boys who are transgender and female breast development in girls who are

transgender.

      29.      Delaying any of these treatments, including both puberty blockers or

hormone therapy, when determined to be medically necessary will not only

exacerbate a transgender young person’s gender dysphoria, but also could lead to


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the development of other co-occurring mental health conditions, including

depression, anxiety, and disordered eating. Those co-occurring mental health

conditions may be accompanied by unhealthy coping behaviors such as self-harm,

substance misuse, and suicide attempts. Additionally, the distress of gender

dysphoria can lead to impairment in academic and other functioning, social and

family relationships, and planning for future goals (e.g., college).

               Safe and Effective Treatments for Gender Dysphoria

      30.    Research and clinical experience repeatedly reaffirm that gender

transition significantly improves the mental and physical health of transgender

young people and is the only treatment that has been demonstrably effective for

gender dysphoria.

      31.    This is true of each stage of a transgender young person’s gender

transition. Transgender young people who underwent a social transition in childhood

demonstrated better mental health profiles than prior studies of gender

nonconforming children. See Lily Durwood, et al., Mental Health and Self-Worth in

Socially Transitioned Transgender Youth, 56 J. Am. Acad. of Child & Adol.

Psychiatry 116 (2017); Kristina Olson, et al., Mental Health of Transgender

Children who are Supported in Their Identities, 137 Pediatrics 1 (2016). This same

outcome has also been seen in a longitudinal study of transgender young people who

underwent each of the three stages of transition outlined above. Annelou L.C. de


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Vries, et al., Young Adult Psychological Outcome After Puberty Suppression and

Gender Reassignment, 134 Pediatrics 696 (2014).

      32.    Gender transition also can—and often does—alleviate co-occurring

mental health issues a transgender young person experienced prior to transition.

Following transition, transgender young people are often able to reduce dosage of

psychiatric medications and see significant improvements in functioning and quality

of life. Treating their gender dysphoria also increases a transgender young person’s

capacity to develop and maintain better coping strategies to manage any co-occurring

conditions. For example, a recent study found that after two years of hormone

treatment, transgender youth experienced increases in positive affect and life

satisfaction and decreases in depression and anxiety symptoms. Diane Chen, et al.,

Psychosocial Functioning in Transgender Youth after Two Years of Hormones, 388

N. Engl. J. Med. 240 (2023); Diana M. Tordoff, Jonathan W. Wanta, Arlin Collin,

Cesalie Stepney, David J. Inwards-Breland, Kym Ahrens, Mental Health Outcomes

in Transgender and Nonbinary Youths Receiving Gender-Affirming Care. JAMA

Netw Open. 2022 Feb 1;5(2):e220978. doi: 10.1001/jamanetworkopen.2022.0978.

Erratum in: JAMA Netw Open. 2022 Jul 1;5(7):e2229031. PMID: 35212746;

PMCID: PMC8881768.

      33.    Research shows that gender transition significantly improves the

mental health of transgender young people, bringing their mental health profiles into


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alignment with that of their non-transgender peers. Kristina Olson, et al., Mental

Health of Transgender Children Who Are Supported in Their Identities, 137

Pediatrics 1 (2016);1

        34.       Well-established research demonstrates the effectiveness of gender

transition as treatment for gender dysphoria in adolescence. Jack Turban, Annelou

DeVries & Kenneth Zucker, Gender Incongruence & Gender Dysphoria, in Lewis’s

Child and Adolescent Psychiatry: A Comprehensive Textbook (A Martin, et al., eds.,

5th ed., 2018).

        35.       Studies are also finding a continuity of approximately 98% of young

people starting social transition and/or on puberty blocking medication continue on

to puberty blocking and/or hormone therapy. Kristina R. Olson et al., Gender

Identity      5     Years    After     Social    Transition,   Pediatrics,   2022   Aug

1;150(2):e2021056082. doi: 10.1542/peds.2021-056082. PMID: 35505568).

Additionally, 98% of youth in another study continued on from puberty blocking to

gender affirming hormone therapy. Maria Anna Theodora Catharina van der Loos et

al., Continuation of Gender-Affirming Hormones in Transgender People Starting

Puberty Suppression in Adolescence: A Cohort Study in the Netherlands, Lancet

Child      Adolesc      Health.      2022   Dec;6(12):869-875.    doi:   10.1016/S2352-


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  Anxiety was the only area where transgender young people differed from the
non-transgender controls. On that measure, transgender young people showed
slightly elevated levels of anxiety, but were still in the pre-clinical range.
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4642(22)00254-1. Epub 2022 Oct 21. PMID: 36273487).

     The Role of Mental Health Providers in Assessing Necessity of Medical
              Treatments for Gender Dysphoria in Young People

      36.    The first objective of a mental health provider treating a child or

adolescent who appears to be experiencing gender dysphoria is to conduct a careful

and thorough assessment. That assessment allows the provider to accurately

diagnose the patient, including whether the patient meets the stringent criteria for

gender dysphoria and any co-occurring conditions. The foundation of the assessment

process is building a detailed history of the patient, such as prior treatment, trauma,

substance misuse, among many other factors. That assessment also requires a

developmentally informed exploration of the patient’s relationship to their gender

identity over time that includes information obtained from multiple information

sources whenever possible.

      37.    To appropriately conduct that assessment, the mental health provider

must draw from their professional training and experience in working with

transgender young people, exercise professional judgment, and tailor the assessment

to each individual patient and their family. The number of sessions that assessment

requires will vary depending on the patient’s presentation and the complexity of the

issues the patient is navigating. The assessment process also goes beyond gathering

information from the patient and their family. The mental health provider will

typically gather and review information from the patient’s primary care provider,
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prior mental health providers, and other adult professionals who are part of the

patient’s care team.

      38.      A detailed history and assessment are important to provide the context

for developing an appropriate treatment plan. That comprehensive assessment is also

needed to help inform possible future care plans, such as the patient’s need for

puberty blockers and hormone therapy. Once this treatment plan is developed, the

mental health provider remains involved in the treatment plan, ensuring that the plan

continues to address the patient’s individual needs. For example, mental health

providers regularly assess the effects of gender dysphoria on a patient’s life and

functioning. The purpose of that ongoing evaluation is to identify the areas where

the patient needs to develop resilience and coping strategies to minimize the effects

of their gender dysphoria and to evaluate the mental health benefits of future

treatment options.

      39.      Because of the thoroughness of this process, an assessment to determine

the necessity of medical treatments typically occurs over several months. For

patients who begin care as children, the assessment is based on years of clinical

information.

      40.      A critical element of the standard of care is that it does not presume that

being transgender is incompatible with a young person’s short- and long-term health

and well-being. That is consistent with DSM-5 diagnostic criteria which is


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“focus[ed] on dysphoria as the clinical problem, not identity per se.” American

Psychiatric Association, Diagnostic and Statistical Manual of Mental Disorders

(DSM-5), 451 (2013). As a result, therapists practicing consistent with the standard

of care will create a space where the patient can explore their gender identity,

knowing that being transgender and not being transgender are both equally

acceptable outcomes. 2

      41.    Providing this individualized mental health treatment means mental

health providers are not simply a rubber-stamp in the process for accessing treatment

for gender dysphoria. Instead, as is the case with all effective mental health treatment,

the focus is supporting overall health and well-being, regardless of whether the

young person continues to identify as transgender. As a result, I have had patients

who presented with some symptoms of gender dysphoria, but who ultimately did not

meet the diagnostic criteria for a variety of reasons, and therefore I recommended

and we agreed upon treatments other than transition to alleviate their psychological

distress. My experience in working and speaking with other gender specialists is that



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  As observed in the context of research on gender identity conversion efforts and
family rejection, attempting to influence a young person’s gender identity
development is harmful, ineffective, and unethical. For example, a recent study
found that being exposed to gender identity conversion efforts was associated with
greater odds of attempting suicide, especially for those individuals who had those
experiences in childhood. Jack Turban, et al., Association between recalled
exposure to gender identity conversion efforts and psychological distress and
suicide attempts among transgender adults, 77 JAMA Psychiatry 68 (2020).
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this is routine throughout the profession. Part of the rigor of the diagnostic protocol

is distinguishing between youth who are engaged in gender exploration from youth

who are transgender and who do or will need treatment for gender dysphoria.

      42.    For young people who do meet the diagnostic criteria for gender

dysphoria, mental health treatment often involves referring a patient for medical

treatments. That process involves an assessment of the patient’s gender dysphoria,

co-occurring conditions, and the medical treatment’s likely effect on the patient’s

overall mental health and functioning. As part of that process, mental health providers

also discuss the risks, benefits, and alternatives to treatment with transgender young

people and their parents.

      43.    A patient’s readiness to begin a particular course of medical treatment

requires an evaluation of the patient’s and the parent’s/caregiver’s understanding of

the goals and potential limitations of the contemplated treatment. For example, for

puberty-blocking medication, the provider will gauge the patient’s ability to

comprehend the effects of puberty on their body and mental health. An integral part

of that discussion is evaluating a patient’s grasp of the consequences of stopping

those physical changes from occurring and alternatives to puberty-blocking

treatment. And, in cases of the addition of hormone therapy in adolescence, the

review of physical impact is explored over multiple meetings with the patient and

parents. The provider will have those discussions with the patient and their parents


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both individually and together. As with the initial diagnosis, the amount of time

required to complete this evaluation will depend on numerous factors including the

length of their existing therapist-patient relationship and the complexity of the issues

facing that patient.

      44.    The mental health provider will then document the results of their

assessment in a letter to the patient’s treating medical healthcare provider. The letter

details the provider’s diagnostic analysis as well as any professional opinions

regarding the benefits of and readiness for the contemplated treatment. Ultimately,

the appropriateness of any medical treatment is determined by a multidisciplinary

team of expert mental and medical healthcare providers.

      45.    The impact of Georgia’s SB 140, which bans hormone therapy for

youth while allowing puberty suppression, in effect forces youth to remain looking

10–12 years old until they reach age 18. This creates several serious and potentially

harmful problems. First, these youth will stand apart from their peers physically,

which can make them victims of anti-transgender/hateful violence, general bullying

for being different, and socially isolated for being different. Second, due to

experiencing ongoing gender dysphoria and being suspended in a physically

undeveloped state, they will not be able to socially and psychologically mature with

their peers, effectively impairing their development. SB 140 puts these youth at a

developmental disadvantage. Furthermore, their parents and family are deprived of


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the normative experience of getting to know and guide their adolescent youth during

typical adolescent development years of high school. And lastly, these youth will

continue to struggle with greater risk for co-occurring mental health concerns and

negative coping behaviors, impaired family and social relationships, and academic

and other functioning as discussed supra at paragraphs 29 through 34.

         Assessing Co-Occurring Conditions & Necessity of Medical Treatment
                            for Gender Dysphoria

      46.    The existence—and prevalence—of co-occurring conditions among

transgender young people is unsurprising. Transgender young people must cope with

many stressors from the fear of rejection from family and peers to pervasive societal

discrimination. In addition, their underlying gender dysphoria can cause significant

psychological distress, which, if left untreated, can result in the development of co-

occurring conditions.

      47.    Transgender young people are not outliers in this regard. Research and

clinical experience show that most psychiatric conditions are highly correlated with

other co-occurring psychiatric conditions. For example, young people with

depression are very likely to have at least one other diagnosable condition, most

often anxiety. See, e.g., E. Jane Costello, et al., Prevalence and Development of

Psychiatric Disorders in Childhood and Adolescence, 60 Archives of Gen.

Psychiatry 837 (2003) (“There was strong heterotypic continuity from depression to

anxiety” and finding approximately 30% of participants diagnosed with a depressive

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disorder were also diagnosed with an anxiety disorder). Likewise, a study on

children diagnosed with Attention-Deficit/Hyperactivity Disorder found between 74

and 79% participants had additional co-occurring psychiatric conditions. Timothy

Wilens, et al., Psychiatric Comorbidity and Functioning in Clinically Referred

Preschool Children and School-Age Youths with ADHD, 41 J. of Am. Academy of

Child & Adol. Psychiatry 262 (2002).

      48.      A comprehensive assessment—the cornerstone of the prevailing

standards of care for the treatment of gender dysphoria—not only seeks to

identify any co-occurring conditions, but also to evaluate the effect those conditions

have on a transgender person’s functioning. This is equally true when assessing

whether medical treatment for gender dysphoria is necessary from a mental health

perspective.

      49.      The standards of care recognize that it is not possible for a transgender

patient to resolve all co-occurring conditions prior to undergoing medical treatment,

nor would it be ethical to impose such a requirement. Resolving all co-occurring

conditions before medical treatment is not a requirement for other conditions.

Gender dysphoria, by definition, is accompanied by clinically significant

psychological distress. That distress can take on many different forms (e.g., anxiety,

mood disorders, and depression) and vary greatly in severity, resulting in co-

occurring      conditions.   Because     psychological     distress   is   not   easily


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compartmentalized, the distress associated with gender dysphoria can also amplify

co-occurring conditions that developed independently of the gender dysphoria. In

either situation, gender dysphoria limits the effectiveness of treatment of any co-

occurring mental health conditions. Thus, treating the underlying gender dysphoria

is essential to alleviating the psychological distress associated with co-occurring

conditions.

      50.     Even assuming that it was possible to cure a patient’s co-occurring

conditions, delaying medical treatment can cause very real harms to a transgender

person’s physical and mental health. Without medical treatment, their gender

dysphoria would continue to persist and often worsen. At a minimum, that increased

distress would interfere with the treatment for the person’s co-occurring conditions,

subjecting them unnecessarily to a longer course of treatment. It is often seen that

the gender dysphoria would eclipse the person’s co-occurring conditions, not only

entirely impeding treatment of those co-occurring conditions, but also resulting

in an overall deterioration of their mental health. The increased distress from their

gender dysphoria would translate to resorting to negative coping mechanisms (i.e.,

self-harm), suicidal ideation, and suicide attempts—just as it could if that increased

distress was attributable to a co-occurring condition.

      51.     Gender dysphoria is a real and serious medical condition that is highly

treatable. There is a rigorous and comprehensive protocol for diagnosing an


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individual with the condition. There is also a well-established standard of care for

the treatment of gender dysphoria, including for treatment of gender dysphoria in

transgender youth with puberty blockers and hormone therapy. When that treatment

is provided, transgender youth can thrive. As discussed above, there are studies that

have demonstrated that outcome, and my own professional experience confirms it.

In my experience, I have seen mental health providers carefully assess and work

with youth, their parents, and other doctors that care for the youth to create a treatment

plan that includes continuing mental healthcare and ongoing assessments.

      52.    Medical treatment for gender dysphoria has immense psychological

benefits for youth, bringing their mental health to a level similar to their non-

transgender peers. My understanding is that the law challenged in this case will

prevent transgender youth in Georgia who are diagnosed with gender dysphoria from

getting medical care that they need. In my professional opinion, if transgender youth

cannot get the medical care that they need, they will suffer and their mental health

will deteriorate and their families suffer along with them.

      53.    I hold each of the opinions expressed in this declaration with a

reasonable degree of scientific certainty, based on the materials I have reviewed and,

on my education, experience, and knowledge. I reserve the right to supplement,

amend, or modify my opinions upon review of further information, including, but

not limited to, testimony, documents, and reports I receive after the date of this


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declaration.



      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.


Executed this __28th___ day of June 2023.


                                              Renelle (“Ren”) Massey, Ph.D.
                                       __________________________________
                                            Renelle (“Ren”) Massey, Ph.D.




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                       Exhibit A
                Curriculum Vitae
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                                 REN MASSEY, PH.D.
                                       VITA

4426 Hugh Howell Road                                  Phone: 404-292-3400
Suite B-170
Tucker, GA 30084                                       www.drrenmassey.com

EDUCATION

11-18        Certified Provider and Mentor, World Professional Association for
             Transgender Health Global Education Initiative.

8-89         Ph.D. in Clinical Psychology. Minor: Substance Abuse Treatment. University
             of South Florida, Tampa, FL.

4-85         M.A. in Experimental Psychology with concentration in Social and Personality
             Psychology. Florida Atlantic University, Boca Raton, FL.

5-82         B.A. in Psychology with concentration in Clinical and Personality Psychology.
             Stetson University, DeLand, FL.

PROFESSIONAL EXPERIENCE

3-90 to      Independent Practice/Consultation. Individual, couple, and family
Present      psychotherapy; psychological testing; gender identity, bariatric pre-
             surgical, and forensic evaluations. Training and consulting in universities,
             schools, organizations, and corporations. Specialized experience with
             gender identity, men’s, women’s, sexual orientation, diversity, physical
             and sexual abuse, alcohol/drug, depression, anxiety, health, anger &
             stress management, healthy living issues. Workshops, lectures, and
             clinical services provided to adults, adolescents, and children.

9-89 to      Full-time/Part-time Consultant, Inner Harbour Hospital, Douglasville, GA.
8-91         Individual, family, and group psychotherapy; consultation with treatment
             teams; personality and intellectual evaluations; supervision of mental
             health assistants; treatment planning; program evaluation. All clinical
             services provided for inpatient males, ages 8 to 18, and their families.

9-88 to      Psychology Pre-doctoral Intern, Veterans Administration Medical Center,
8-89         Gainesville, FL (APA-Approved). Rotations: Alcohol/Drug Treatment
             Unit, Administration, Employee Assistance Program, Family
             Psychotherapy, Post-Traumatic Stress Disorder, Child Psychotherapy
             (external rotation), Behavioral Medicine, Cardiology, and General
             Outpatient Services. Conducted individual, group, marital/family
             psychotherapy and admissions, personality, intellectual, forensic, and
             neuropsychological evaluations.
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6-87 to      Treatment Counselor, Hillsborough County Hospital, Tampa, FL.
7-88         Consultant and multi-disciplinary team treating adult and geriatric
             inpatients. Conducted personality, intellectual, and brief
             neuropsychological testing. Short-term individual, marital, and family
             therapy using cognitive-behavioral/dynamic approaches. Provided
             interpersonal-process group psychotherapy. Supervised graduate
             practicum students. Population diverse, including personality disorders,
             organic mental disorders, affective disorders, chronic schizophrenia, and
             substance abuse disorders.

8-86 to      Assistant Director, Psychological Services Center, University of South
7-88         Florida, Tampa, FL. Daily clinic management; client assignment to student
             therapists; court-ordered evaluations; intake assessments; crisis
             counseling; supervision of graduate students; community networking and
             referrals; individual, family, and group therapy.

8-85 to      Director, Alcohol and Drug Resource Center, University of South
7-88         Florida, Tampa, FL. Managed daily operations, including two budgets;
             BACCHUS staff advisor; crisis counseling and referrals; conducted
             workshops for organizations, classes, and staff; program evaluation;
             community and campus networking.

PUBLICATIONS

E. Coleman, A. E. Radix… J. Arcelus (2022) Standards of Care for the Health of
Transgender and Gender Diverse People, Version 8, International Journal of
Transgender Health, 23:sup1, S1-S259, DOI: 10.1080/26895269.2022.2100644

Massey, R. (2021). Invited blog: What if my child wants clothes and a name that doesn’t
match their sex? Infoaboutkids.org. A publication of the American Psychological
Association’s Consortium for Science-based Information on Children, Youth, & Families.

Scott Leibowitz, Jamison Green, Ren Massey, Alison Mohr Boleware, Diane Ehrensaft,
Will Francis, Colt Keo-Meier, Aydin Olson-Kennedy, Seth Pardo, G. Nic Rider, Emmett
Schelling, Andrea Segovia, Vin Tangpricha, Erica Anderson, Guy T’Sjoen on behalf of
the WPATH, USPATH, and EPATH Executive Committees and Boards of
Directors (2020) Statement in response to calls for banning evidence-based supportive
health interventions for transgender and gender diverse youth, International Journal of
Transgender Health, 21:1, 111-112, DOI: 10.1080/15532739.2020.1703652

Massey, R. (2010-11). Transgender issues article series for the Council on Gender &
Sexual Diversity. Georgia Psychologist.

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Massey, R. (2010). Gender Transition in Principle and in Practice. Independent
Practitioner, 30, 174-176.

Massey, R. (2006). When Ethical and Legal Issues are a Matter of Life and Death.
Georgia Psychologist, (Vol. 60, No. 2), 19.

Massey, R. (1993-95). Outlook. Quarterly column for Georgia Psychological Association
magazine, Georgia Psychologist.

Massey, R. (1990-91). Out of Our Minds (Monthly column on mental health issues.)
Fourth Tuesday Forum.

Massey, R. (1989). Intoxication as a defense against criminal charges in Florida: The
research & the law. Criminal Justice & Behavior, 16, 325-344.

Massey, R. F., & Neidigh, L. W. (1990). Evaluating and improving the functioning of a
peer-based alcohol abuse prevention organization. Journal of Alcohol and Drug
Education, 35, 24-35.

Massey, R. & Walfish, S. (2001). Stressors and Strategies for Under-represented
Students: Gender, Sexual and Racial Minorities. In S. Walfish & A. K. Hess (Eds.)
Succeeding in graduate school: The complete career guide for the psychology student.
Hillsdale, N.J. Lawrence Erlbaum.

Massey, R. F., Walfish, S., & Krone, A. (1992). Cluster analysis of MMPI profiles of
adolescents in treatment for substance abuse. Vol. 2.

Walfish, S., Massey, R. F., & Krone, A. (1992). Conducting psychological evaluations
with A.A.-oriented alcoholism treatment programs: Implications for practical treatment
planning. In C. D. Spielberger & J. N. Butcher (Eds.) Advances in personality
assessment (Vol. 8). Hillsdale, N. J.: Lawrence Erlbaum Associates.

Walfish, S., Massey, R. F., & Krone, A. (Eds., 1989). Alcohol abuse & the criminal
justice system. Special issue Criminal Justice & Behavior. Vol.16.

Walfish, S., Massey, R. F., & Krone, A. (1990). Interpersonal relationships of
adolescent substance abusers. Journal of Adolescent Chemical Dependency, 1, 5-13.

Walfish, S., Massey, R. F., & Krone, A. (1990). MMPI profiles of adolescent substance
abusers in treatment. Adolescence, 15, 567-572.


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Walfish, S., Massey, R. F., & Krone, A. (1990). Anxiety and anger among abusers of
different substances. Drug & Alcohol Dependence, 25, 253-56.

Walfish, S., Massey, R., & Krone, A. (1990). MMPI profiles of cocaine-addicted
individuals in residential treatment: Implications for practical treatment planning.
Journal of Substance Abuse Treatment, 7, 151-154.

Walfish, S., Massey, R. F., & Krone, A. (1989). Levels of alcohol dependence in
cocaine addicts:Some clinical implications. Psychology of Addictive Behaviors, 3, 65-68.

REVIEWS

Independent Reviewer for International Journal of Transgender Health (2021-Present).

Independent Reviewer for Journal of Sexual Medicine (2016-Present).

Massey, R. (2011). The Transgender Child: A Handbook for Families and
Professionals. Book Review American Journal of Family Therapy, 39, 175-177.

Massey, R. (2007). Just Fine: Unmasking Concealed Chronic Illness and Pain. Book
Review for American Journal of Family Therapy, 35, 283-284.

PRESENTATIONS

4-23          Massey, R. (Chair) Advanced Mental Health Online Course (presented on
              and moderated multiple topics), World Professional Association for
              Transgender Health Global Education Institute.

4-23          Leibowitz, S., de Vries, A.L.C., Chelvakumar, G., & Massey, R. A Deeper
              Dive into the Adolescent Standards of Care 8 Recommendations.
              European Professional Association for Transgender Health. Killarney,
              Ireland.

4-23          Massey, R., Chair: A State of the Art Symposium - Trans*Kids:
              Experiences of Transgender children, adolescents, and their guardians in
              a German Healthcare System at the European Professional
              Association for Transgender Health. Killarney, Ireland

10-22         Leibowitz, S., Janssen, A., Tishelman, A., Massey, R. The Evidence and
              Ethics for Transgender Youth Care: Updates on the WPATH International
              Standards of Care 8th Edition. Annual Meeting of the American Academy
              of Child and Adolescent Psychiatry. Toronto, Canada.

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9-22          Leibowitz, S., de Vries, A.L.C., Chelvakumar, G., Massey, R., & Strang, J.
              The Adolescent Standards of Care 8 Recommendations. Symposium of
              World Professional Association for Transgender Health. Montreal,
              Canada.

9-22          Knudson, G. & Massey, R. Co-Chairs (multiple topics presented and
              moderated). WPATH GEI Foundations Course in Transgender & Gender
              Diverse Healthcare. Montreal, Canada.

9-22          Massey, R. (Chair) Advanced Mental Health Course (presented on and
              moderated multiple topics), World Professional Association for
              Transgender Health Global Education Institute. Montreal, Canada.

6-22          Knudson, G. & Massey, R. Co-Chairs (multiple topics presented and
              moderated). WPATH GEI Foundations Course in Transgender & Gender
              Diverse Healthcare. for Government Healthcare Workers. Yukon, Canada.

8-21          Leibowitz, S., de Vries, A.L.C., Chelvakumar, G., & Massey, R. Redefining
              Care for Transgender and Gender Diverse Adolescents: Standards of
              Care 8th edition update. European Professional Association for
              Transgender Health. Gothenburg, Sweden.

7-21          Massey, R. Introduction to Gender Diversity. Indian Pediatric Society and
              Medical Students.

4-21, 5-21,   Massey, R. Identity Development and Dating, International Online Training
& 11-21       Module in World Professional Association for Transgender Health
              (WPATH) Global Education Initiative (GEI), Global Health Science and
              Practice Technical Exchange Health Course. Also, Moderator and Panelist
              for separate livestreamed Interactive Sessions.

4-21, 8-21    Knudson, G., Massey, R., & Vella, B. World Professional Association for
              Transgender Health (WPATH) Global Education Initiative (GEI), Online
              Course and Panelist for separate livestreamed Interactive Session.

12-20         Massey, R. & Sangganjanavanich, F. The Person of the Therapist,
              International Online Training Module in World Professional Association for
              Transgender Health (WPATH) Global Education Initiative (GEI), Online
              Advanced Mental Health Course. Also, Moderator and Panelist for
              separate livestreamed Interactive Sessions.
9-20, 2-21,   Massey, R. Introduction to Mental Health, Foundations Course (for
& 5-21        administration, medical, and mental health staff), Illinois Department of

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              Corrections, Virtual/Chicago, IL.

6-20          Massey, R. Essential Competencies to Work with Transgender/Gender
              Diverse Children & Adolescents. 6-hour Continuing Education Workshop,
              Virtual/Atlanta, GA.

5-20          Massey, R. Introduction to Transgender Healthcare, International Online
              Training Module in World Professional Association for Transgender Health
              (WPATH) Global Education Initiative (GEI), Online Foundations Course.
              Also, Moderator and Panelist for separate livestreamed Interactive
              Sessions.

2-20          Massey, R. & Claiborne, G. Introduction to Transgender & Gender
              Diversity Issues. International Women’s Forum, Atlanta, GA.

2-20 &        Massey, R. Competent Care for Transgender & Gender Non-Conforming
10-19         Adult Clients. 6-hour Continuing Education Workshop, Atlanta, GA.

1-20          Massey, R. Foundations in Trans Health and Advanced Mental Health
              Lectures, WPATH GEI, Special Conference, Hanoi, Viet Nam.

11-19         Massey, R. Transgender Day of Remembrance: Reducing Barriers and
              Enhancing Care for Transgender Veterans. Keynote Speaker for all-day
              Continuing Education, Atlanta Veterans Medical Center, Atlanta, GA.

7-19          Massey, R. Cultural Competence Considerations and Creating and
              Affirming Environment for Transgender Patients. American Society of
              Plastic Surgeons, Master Course, Miami, FL.

6-19          Massey, R. Introduction to Transgender & Gender Diversity Issues. Public
              Service Presentation. Skyland Trail, Atlanta, GA.

5-19          Massey, R. Competencies for Effectively Counseling Transgender &
              Gender Non-Conforming Young Adults. 5-hour Continuing Education for
              Staff and Mental Health Professionals, Kennesaw State University,
              Kennesaw, GA.

4-19          Massey, R. Therapeutic Work with Transgender & Gender Non-
              Conforming Youth. For Staff at Berman Center, Atlanta, GA.

3-19          Massey, R. Introduction to Transgender & Gender Non-Conforming
              People. St. Luke’s Episcopal Church, Atlanta, GA.

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12-18        Massey, R. Panelist for Lunch and Learn, Emory University School of
             Medicine, Brain Health Center, Atlanta, GA.

11-18        Massey, R. Planning & Documenting Care for Transgender Patients,
             WPATH GEI Advanced Training, Buenos Aires, Argentina.

10-18        Massey, R. Invited Lecture. Transgender & Gender Diversity Issues in
             Independent Schools. Independent School Chairpersons Association, Fall
             Conference, Boston, MA.
10-18        Massey, R. Invited Speaker. Therapy with Transgender & Gender Non-
             Conforming Individuals. The 50-Minute Hour (Podcast), Host: Dr. Zachary
             Friedman.

9-18         Massey, R. Invited Speaker. Public Seminar Sponsored for Parents &
             Friends of Lesbians & Gays, Johns Creek, GA.

2018-20      Massey, R. Invited lectures on Genetic Counseling & LGBTQ Awareness.
             Genetics Counseling Program, Emory University School of Medicine,
             Atlanta, GA.

6-2017       Massey, R. Invited lectures and trainings for Spiritual Care & Chaplaincy
             Department, Medical Students, LGBT Allies Luncheon, and Pride Lecture
             announcing opening of the Center for Transgender Health at Johns
             Hopkins University, Baltimore, MD.

11-2016      Massey, R. Invited presentation on transgender patients to Georgia
             Academy of Family Physicians, Annual Scientific Assembly. Atlanta, GA.

10-2016      Massey, R. Invited trainings on transgender and gender diverse students
             for faculty and staff of Atlanta International School, Atlanta, GA.

9-2016       Massey, R. Invited trainings and consultation on Transgender and Gender
             Diverse Inmates (for administration, medical, and mental health staff),
             U.S. Bureau of Prisons, Federal Medical Center, Carswell (Texas).

9-2016       Adams, L.F., Adelstein, A., Massey, R., & Rehrig, M. Invited Training on
             transgender patients for Medical Students, Emory University. Atlanta, GA.

9-2016       Massey, R. Invited lecture on transgender and gender diversity issues.
             Human Sexuality class, Georgia State University. Atlanta, GA.

2011 thru    Massey, R. Annual invited lecture on transgender issues for Physician

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2020          Assistant Training Program. Mercer University, Atlanta, GA.

2011 thru     Massey, R. Invited seminar on transgender issues for public health
2015          graduate students. Emory University, Atlanta, GA.

12-12 &       Massey, R. Invited professional trainings on transgender issues for
6-13          Emory University Faculty and Staff Assistance Program, Atlanta, GA.

3-12, 3-13    Massey, R. Invited lectures on transgender issues of children & teens for
& 3-15        Developmental Psychology Graduate Class, Argosy University,Atlanta, GA

4-12          Griffith, R., Bruner, M., Kaufman, G., Massey, R. (Panelist) Masculinities.
              Georgia Psychological Association Annual Meeting, Young Harris, GA.

9-11          Massey, R. & Peres, K. The Men’s Room: Behavior and Communication
& 9-13        Changes & Challenges. Southern Comfort Conference (SCC),Atlanta, GA.

9-10          Massey, R. & Lentine, D. Keeping it together: Relationships in transition.
              SCC, Atlanta, GA.

9-09          Massey, R. Transition is an inside job. SCC, Atlanta, GA.

11-06         Massey, R. & Vives, A. Seminar on sexual minorities for graduate
              students in varied mental health fields. Emory University, Atlanta, GA.

9-05 &        Massey, R. Invited panelist for symposium on healthy and responsible
9-06          sexuality for an undergraduate audience. University of West Georgia,
              Carrollton, GA.

1-05          Massey, R. & Horne, K. Guest lecturer for graduate student class on
              Professional Development. Argosy University, Atlanta, GA.

10-02         Greenberg, D. & Massey, R. Straight talk about Gays. For student body
              through the student counseling center, Oxford College of Emory
              University, Oxford, GA.

11-99          Massey, R. & Greenberg, D. Anger Management and Conflict Resolution.
              Corporate Training for AT&T Employees. Orlando, FL.
1998 to       Numerous presentations addressing Homophobia and Healing
2002          Internalized Homophobia through Georgia Equality Project.

1-97 &        Massey, R. The Ethics of Disclosing Secrets: Are We Helping

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10-97        or Hurting Clients? Invited Workshop-Division E: Georgia Psychological
             Association Midwinter Conference, Amelia Island, FL, & Chattanooga
             Area Psychological Association, Chattanooga, TN.

6-96         Massey, R. Sexual Orientation Issues in the Workplace. Training
             Seminar at Planned Parenthood of Atlanta, Atlanta, GA.

4-95         Barrett, S., Crowe, C., Gale, M., & Massey, R. Family Values: Portraits of
             Gay, Lesbian, & Bisexual Families. Georgia Psychological Association
             Annual Meeting, Atlanta, GA

8-95         Massey, R. Can't Live With 'Em and Can't Live Without 'Em: The Current
             Status of the Relationship of Sexual Orientation Issues in State Psychol.
             Associations. Presented in Symposium: Confronting Sexual Orientation
             Issues Within and Outside State Psychological Assocs.103rd Annual
             Convention of American Psychological Association, Washington, D.C.

10-94        Friedman, F. & Massey, R. Gay, Lesbian, & Bisexual Youth: What's
             Known, What's Needed. GA Assoc. of School Psychologists. Atlanta, GA.
4-94         Gale, M., Johnson, J., Massey, R., Stark, J., & McDavid, J. Are You
             Ethically Prepared to Address Sexual Orientation Issues? Georgia
             Psychological Association Annual Meeting, Savannah, GA.

10-89        Massey, R. F. Invited Speaker for Virginia Alcohol Beverage Control
             Board Statewide Alternatives Conference on Alcohol Abuse Prevention on
             College Campuses. Richmond, VA.

10-88        Goldman, M. S., Henderson, M. J., & Massey, R. F. Alcohol expectancies
             as mediator of alcoholism risk. 2nd National Conference on Alcohol
             Abuse and Alcoholism. San Diego, CA.

8-88         Massey, R. F., & Goldman, M. Manipulating expectancies as a means of
             altering alcohol consumption. 96th Annual Convention of the American
             Psychological Association, Atlanta, GA.

4-86         Massey, R. F. Healthy Choices: Alcohol and drug abuse prevention on
             the college campus. Statewide Prevention Symposium, Florida Alcohol
             and Drug Abuse Association. Tampa, FL.

2-86         Massey, R. F. Training residence hall staff in alcohol and drug abuse
             prevention. Prevention Connections in Higher Education: Annual Florida
             Statewide Convention. Dept. of Health and Rehabilitative Services'

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            Campus Substance Abuse Prevention Project & BACCHUS. Orlando, FL.

3-85        Massey, R. F. Personality and situational moderators of attitude-behavior
            congruence. Presentation in Symposium: Predicting behavior from
            internal dispositions: A case for moderation. 31st Annual Meeting of the
            Southeastern Psychological Association. Atlanta, GA.

6-84        Massey, R. F. Understanding the development of the understanding of
            attention. Student Paper Presentation. 37th Annual Convention of the
            Florida Psychological Association. Sanibel Island, FL.

TEACHING EXPERIENCE

2019-       Master Mentor for World Professional Association for Transgender Health
Present     Global Education Initiative.

2018-       Adjunct Assistant Professor: Emory University School of Medicine,
Present     Department of Psychiatry and Behavioral Sciences, Atlanta, GA

2016-       Faculty: World Professional Association for Transgender Health Global
Present     Education Initiative for Trainings in the USA and abroad.

1987        Teaching Practicum: Abnormal Psychology and Personality courses.
            Professor: J. Kevin Thompson, Ph.D., Department of Psychology,
            University of South Florida.

1987        Teaching Assistant: Contemporary Psychology. Professor: Miles Hardy,
            Ph.D., Department of Psychology, University of South Florida.

1983        Teaching Assistant: Statistics. Professor: Allan Nash, Ph.D., Department
            of Psychology, Florida Atlantic University.

RESEARCH EXPERIENCE

2-19        Advisor to Patient-Centered Outcome Research Institute grant project on
            developing educational materials about trans/gender diverse youth for
            parents and schools. Primary Investigator: Michael Goodman, M.D.

1-85 to     Studying personality correlates of substance abusing adolescents
1992        and adults. Also, participated in review of numerous manuscripts
            submitted to various journals reporting on aspects of substance abuse.
            Primary Collaborator: Steven Walfish, Ph.D., Clinical and Community

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            Psychology Associates, Tampa, FL.

1-87 to     Conducted or assisted in projects pursuing two programs of
8-88        research: 1) Altering alcohol expectancies to prevent alcohol abuse; and
            2) Assessing and rehabilitating cognitive deficits caused by chronic
            alcohol abuse. Major Advisor: Mark S. Goldman, Ph.D., Director of
            Clinical Psychology Doctoral Program, Department of Psychology,
            University of South Florida.

9-84 to     Research on: 1) evaluation of the efficacy of alcohol education
7-86        workshops and 2) influences of personality and situation on attitudinal and
            behavioral consistency. Professor: Louis A. Penner, Ph.D., Chair,
            Department of Psychology, University of South Florida.

1-83 to     Master's Thesis: "Attitude-Behavior Correspondence as a
8-84        Function of Self-monitoring and Situational Constraint." Also, worked on
            various other projects examining the influence of personality and
            situational variables in predicting behavior from traits and attitudes.
            Major Advisor: Thomas C. Monson, Ph.D., Department of Psychology,
            Florida Atlantic University.

COMMUNITY INVOLVEMENT

2007-08     Facilitator of Gender Crossing (free support group for exploring gender
            identities), Atlanta, GA.

1994 to     American Red Cross Mental Health Disaster Volunteer. Atlanta, GA
2003        Chapter.

2000-04     Anti-Defamation League Trainer. Atlanta, GA.
1999-2001   Elected Board Member of Feminist Women's Health Center. Atlanta, GA.

6-98 to     Georgia Equality Co-Facilitator for Healing Internalized Homophobia and
2002        Dealing with Healing Homophobia workshops. Atlanta, GA Chapter.

HONORS

2016-17     Outstanding Member Service Award, Georgia Psychological Association.

2012        Outstanding Contribution to the Georgia Psychological Association as
            Chair of the 2012 Annual Meeting of Georgia Psychological Association.


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2002        Outstanding Achievement Award for Contributions to the Well-being of
            LGBT People from Division H of Georgia Psychological Association.

1994        Elected Fellow of the Georgia Psychological Association.

1988        Poster selected for Science Weekend of the 96th Annual Convention of
            the American Psychological Association.

1986        Member of Pi Gamma Mu, International Honor Society of the Social
            Sciences, University of South Florida.

1984-85     Graduate Council Fellowship, University of South Florida.

PROFESSIONAL AFFILIATIONS AND ACTIVITIES

2021-       Co-Chair/Mental Health Chair, World Professional Association for
Present     Transgender Health (WPATH) Global Education Institute

2018-20     Director-at-large, World Professional Association for Transgender Health
            (WPATH) Board of Directors

2018-Now    Selected for Committee to Revise the World Professional Association for
            Transgender Health Standards of Care (Version 8)

2018-20     Selected for Steering Group for the WPATH Global Education Initiative

2018-Now    Selected Member, Emory University School of Medicine Diversity and
            Inclusion Subcommittee

2017-18     President, Georgia Psychological Association

2009-Now    Member, World Professional Association for Transgender Health

2016        Georgia Psychological Association Presidential Task Force—Foundation
            Evaluation Team

2014-17     Georgia Psychological Association Ethics Committee

2011-12     Chair for the Georgia Psychological Association Annual Meeting in 2012

2005-07     Mentor for Mentoring Program of Georgia Psychological Association
1996-98     Chair, Continuing Education Committee, Division H (Human Psychology

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             and Sexuality) of Georgia Psychological Association

1994-Now     Nominated and Elected Fellow, Georgia Psychological Association

1993-95      Founder and Past Chair of Committee on Sexual Orientation Concerns,
             Georgia Psychological Association

1989-Now    Member, American Psychological Association & Division 44 (Society for
            the Psychological Study of Lesbian, Gay, Bisexual & Transgender Issues)

1989-Now     Member, Georgia Psychological Association

REFERENCES

Katherine Bruss, Psy.D.                William Doverspike, Ph.D.
drkathy@comcast.net                    Atlanta Counseling Center
(470) 632-3377                         6111 Peachtree Dunwoody Road
                                       Building C - Suite 101
Rebecca Jones, Ph.D                    Atlanta, Georgia 30328-6049
rajphd@rajphd.com                      770-913-0506
(404) 250-4774

Scott Leibowitz, M.D.
Child and Adolescent Psychiatrist, Nationwide Children’s Hospital, Columbus, OH
Medical Director of Behavioral Health, THRIVE (gender and sex development) program
Associate Clinical Professor, The Ohio State University College of Medicine
Nationwide Children's Hospital
OCC6- Psychiatry, 700 Children's Drive
Columbus, OH 43205
(614) 722-2427




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                       Exhibit B
                       Appendix
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                                             APPENDIX

American Academy of Child & Adolescent Psychiatry Policy Statement: Conversion Therapy (2018).

American Psychiatric Association Position Statement on Conversion Therapy and LGBTQ Patients
(2018).

American Psychological Association. (2015). Guidelines for psychological practice with transgender
and gender nonconforming people. American Psychologist, 70(9), 832–64.

American Psychological Association Resolution on Gender Identity Change Efforts (2021). American
Psychologist, 70(9), 832–64.

Achille, C., et al. (2020). Longitudinal impact of gender-affirming endocrine intervention on the mental
health and well-being of transgender youths: Preliminary results. International Journal of Pediatric
Endocrinology, 2020.

Chen D, Berona J, Chan YM, Ehrensaft D, Garofalo R, Hidalgo MA, Rosenthal SM, Tishelman AC, Olson-
Kennedy J. Psychosocial Functioning in Transgender Youth after 2 Years of Hormones. N Engl J Med.
2023 Jan 19;388(3):240–50.

Costa, R., et al. (2015). Psychological support, puberty suppression, and psychosocial functioning in
adolescents with gender dysphoria. The Journal of Sexual Medicine, 12(11), 2206–14.

De Vries ALC, et al. (2011). Psychiatric comorbidity in gender dysphoric adolescents. Journal of Child
Psychology & Psychiatry. 52(11):1195-1202.

De Vries ALC, et al. Young adult psychological outcome after puberty suppression and gender
reassignment. Pediatrics. 2014; 134:1–9.

Durwood, et al. (2017). Mental health and self-worth in socially transitioned transgender youth. Journal of
the American Academy of Child & Adolescent Psychiatry, 56, 116–23.

Edwards-Leeper, L., & Spack, N. P. (2012). Psychological evaluation and medical treatment of transgender
youth in an interdisciplinary “Gender Management Service” (GeMS) in a major pediatric center. Journal of
Homosexuality, 59, 321–36.

Gibson, D. J., et al. (2021). Evaluation of anxiety and depression in a community sample of transgender
youth. JAMA network open, 4(4), e214739-e214739.

Green, A. E., et al (2021). Association of gender-affirming hormone therapy with depression, thoughts of
suicide, and attempted suicide among transgender and nonbinary youth. Journal of Adolescent Health
[ePublication ahead of print].

Hidalgo, M. A., et al. (2013). The gender affirmative model: What we know and what we aim to learn.
Human Development, 56(5), 285-290.
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Klein A, Golub SA. (2016) Family Rejection as a Predictor of Suicide Attempts and Substance Misuse
Among Transgender and Gender Nonconforming Adults. LGBT Health. 3(3):193-9.

Klein D, Paradise S, Goodwin E. Caring for Transgender and Gender Diverse Persons: What Clinicians
Should Know. (2018) American Family Physician, 98(11).

Kuper, L. E., et al (2020). Body dissatisfaction and mental health outcomes of youth on gender-affirming
hormone therapy. Pediatrics, 145(4), e20193006.

Olson, et al. (2016). Mental health of transgender children who are supported in their identities. Pediatrics,
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